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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

 STEPHANIE CARDUCCI and RICHARD                  )
CARDUCCI, Individually and as Husband            )
and Wife,                                        )
          Plaintiff,                             )
                                                 )
vs.                                              )      Case No. CIV-19-4-SLP
                                                 )
US FOODS, INC., D/B/A CHEF’STORE,                )      Jury Trial Demanded
           Defendant.                            )

                                      COMPLAINT

       Plaintiffs, for Complaint against Defendant, state:

       (1) On June 29, 2014, Plaintiffs, Stephanie Carducci and Richard Carducci, were

invitees at Chef’store at 515 W I-240 Service Rd, Oklahoma City, Oklahoma, owned by

US Foods. Plaintiff, Stephanie Carducci, was exiting a refrigerated area that had

condensation dripping off the windows onto the floor causing Plaintiff to fall.

       (2) Due to Defendant’s negligence in failing to maintain their premises in a

reasonably safe condition for commercial invitees, Plaintiff, Stephanie Carducci, sustained

bodily injury, suffered permanent injury and disfigurement, suffered and will suffer pain,

and has and will incur medical bills and lost wages.

       (3) Plaintiffs are citizens of Oklahoma in the Western District. Defendant is a

corporation organized and existing under the laws of Delaware with its principal place of

business in Illinois. The amount in controversy exceeds $75,000.
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       (4) As a direct result of Defendant’s negligence, the Plaintiff, Richard Carducci, has

suffered the loss of love, services and consortium of his wife as a result of the injuries

suffered by her in the fall, entitling him to judgment against Defendant.

       WHEREFORE, Plaintiffs prays judgment against Defendant in excess of the

amount required for diversity jurisdiction pursuant to Section 1332 of Title 28 of the United

Stated Code, plus costs of this action.

                                                  Respectfully submitted,

                                                  s/Rex Travis
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